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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                   CASE NO. 1:24-CV-24066-CMA

   ALAN GUERECA, individually
   and on behalf of all others similarly situated,

                           Plaintiff,
           v.

   MOTORSPORT.TV DIGITAL, LLC,

                           Defendant.


          JOINT MOTION FOR ENTRY OF STIPULATED PROTECTIVE ORDER

         The Parties hereby respectfully request that the Court enter the Stipulated Protective Order

  attached hereto as Exhibit A. The Stipulated Protective Order was jointly agreed to by the Parties.


  DATED: February 10, 2025

  Respectfully Submitted,

  /s/ Julie Holt                                       s/ Kyle W. Woodford
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